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   7                                                            JS-6
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   9                     UNITED STATES DISTRICT COURT
  10                   CENTRAL DISTRICT OF CALIFORNIA
  11   VENTANA SALES DESIGN AND              ) Case No. CV 12-4279 FMO (RZx)
       MANUFACTURING, INC., a                )
  12   California corporation,               )
                                             ) ORDER OF DISMISSAL
  13                Plaintiff,               )
                                             )
  14         vs.                             )
                                             )
  15                                         )
       NEWELL WINDOW FURNISHINGS, )
  16   INC., a Delaware corporation;         )
       LOWE’S HIW, INC., a Washington        )
  17   corporation; and DOES 1-9, inclusive, )
                                             )
  18                Defendants.              )
                                             )
  19                                         )
       AND RELATED COUNTERCLAIMS )
  20                                         )
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   1               Having read the parties’ stipulation of dismissal and finding good cause
   2   therefore,
   3
   4   IT IS HEREBY ORDERED THAT:
   5
   6               This action, including all claims and counterclaims, is hereby dismissed
   7   with prejudice. This court shall retain jurisdiction for interpreting any of the
   8   terms and conditions of the parties’ confidential settlement agreement.                                      The
   9   parties shall bear their own fees and costs.
  10
  11
  12   Date: March 13, 2013                                                                /s/
  13                                                                                 Hon. Fernando M. Olguin
                                                                                     United States District Judge
  14
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  17   Respectfully submitted,
  18   CISLO & THOMAS LLP
  19
  20   By:        /Daniel M. Cislo, Esq./
  21             Daniel M. Cislo, Esq.
                 Kelly W. Cunningham, Esq.
  22
  23             Attorneys for Plaintiff
                 Ventana Sales Design and Manufacturing, Inc.
  24
  25
       Date:March ____, 2013
  26
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   1
                                                PROOF OF SERVICE
   2
               I am over the age of eighteen (18) years, employed in the State of California, and not a party to the
   3   above-entitled action. My business address is 1333 2nd Street, Suite 500, Santa Monica, California 90401-
       4110.
   4
               On Thursday, March 14, 2013, I served:
   5
   6           [PROPOSED] ORDER DISMISSING ALL CLAIMS AND COUNTERCLAIMS

   7           addressed as follows to:

   8                 Todd Tucker, Esq.                               Charles H. Abbott, Esq.
                     Jay R. Campbell, Esq.                           McGuire Woods LLP
   9                 Nicholas J. Gingo, Esq.                         1800 Century Park East, Suite 800
                     Renner Otto Boisselle & Sklar LLP               Los Angeles, California 90067
  10                 1621 Euclid Avenue, 19th Floor                  Email cabbott@mcguirewoods.com
                     Cleveland, Ohio 44115
  11                 Email ttucker@rennerotto.com
                              jcampbell@rennerotto.com
  12
                              ngingo@rennerotto.com
  13
  14           BY MAIL:         I am readily familiar with the Firm’s practice of collecting and processing
               correspondence for mailing. Under that practice, it would be deposited with the United States
  15           Postal Service on the same day with a postage thereon fully prepaid at Santa Monica, California, in
               the ordinary course of business. I am aware that, on the motion of the party served, service is
  16           presumed invalid if the postal cancellation date or postage meter date is more than one (1) day after
               the date of deposit for mailing shown on this proof of service.
  17
               BY FEDERAL EXPRESS/OVERNIGHT DELIVERY: I caused a copy of such document to be
  18
               sent via overnight delivery to the office(s) of the addressee(s) shown above.
  19
               BY ELECTRONIC PROCESS: An electronic copy of this document was sent to the above email
  20           address(es) via the Electronic Court Filing (ECF) procedure provided by this Court.

  21           BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to the person(s)
               identified above.
  22
                I declare, under penalty of perjury under the laws of the United States that the foregoing is true and
  23   that I am employed in the office of a member of the Bar of this Court at whose direction the service was
       made.
  24
  25           Executed on Thursday, March 14, 2013, at Santa Monica, California.

  26
  27
                                                                           Christopher Eckart
  28
